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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MARK B. ARONSON,                                       )
                                                        )           ELECTRONICALLY FILED
                 Plaintiff,                             )
                                                        )
        v.                                              )
                                                        )                      2:18-cv-1531
                                                                    Case No.: __________
 NATIONAL GAS & ELECTRIC, LLC, a Texas                  )
 limited liability company,                             )
                                                        )
                 Defendants.


                              DEFENDANT’S NOTICE OF REMOVAL

       Defendant National Gas & Electric, LLC (“Defendant”), by and through the undersigned

counsel, hereby removes Case No. GD 18-012895, Mark B. Aronson vs. National Gas & Electric,

LLC, an action pending in the Court of Common Pleas of Allegheny County, Pennsylvania (“State

Court Action”), to the United States District Court for the Western District of Pennsylvania.

Defendant removes the State Court Action under 28 U.S.C. §§ 1331, 1441(a) and (c), and 1446,

on the factual and legal grounds discussed below.

I.     Background

             1. On October 10, 2018, Plaintiff Mark Aronson (“Plaintiff”) filed a complaint against

Defendant in the Court of Common Pleas of Allegheny County, Pennsylvania, entitled Mark B.

Aronson vs. National Gas & Electric, LLC, Case No. GD 18-012895.

             2. Defendant was served with a copy of the Summons and Complaint on or about

October 15, 2018. Exhibit A-3.

             3. Among other things, Plaintiff alleges that Defendant violated the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.




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           4. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331,

as the TCPA arises under the Constitution, laws, or treaties of the United States. Mims v. Arrow

Fin. Svcs., LLC, 565 U.S. 368 (2012).

           5. The Court has supplemental jurisdiction over Plaintiff’s other claim (for violation

of the Pennsylvania Telemarketer Registration Act, 73 P.S. §§ 2241–2249). 28 U.S.C. § 1441(c);

28 U.S.C. § 1367.

II.    Venue

           6.   The State Court Action is being removed from the Court of Common Pleas of

Allegheny County, Pennsylvania, which is within the Western District of Pennsylvania.

III.   Procedure for Removal

           7. Defendant was served with the Summons and Complaint on or about October 15,

2018. (See Exhibit A.) This Notice of Removal is timely because it is being filed within 30 days

of Defendant’s receipt of the Summons and Complaint, and within one year of the commencement

of this action. 28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S.

344, 354 (1999) (explaining that the time for filing a notice of removal does not run until a party

has been served with the summons and complaint under the applicable state law).

           8. Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide written notice

of removal of this action to Plaintiff, and will promptly file a copy of this Notice of Removal with

the Clerk of the Court of Common Pleas of Allegheny County, Pennsylvania.

           9. A copy of all process, pleadings, and orders served upon Defendant is attached

hereto as Exhibit A in accordance with 28 USC § 1446(a).

           10. For all of the foregoing reasons, this Court has original jurisdiction over this

lawsuit pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, and removal is proper.




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       WHEREFORE, Defendant respectfully requests that the above action now pending in the

Court of Common Pleas of Allegheny County, Pennsylvania, Case No. GD 18-012895, be

removed to the United States District Court for the Western District of Pennsylvania.


 Dated: November 14, 2018                      Respectfully Submitted,

                                               s/ Matthew H. Sepp
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2018, the foregoing was filed with the Clerk of the

Court using the CM/ECF system and served upon the following by United States Mail, postage

prepaid and via electronic mail:

                                        Mark B. Aronson
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                                      Pittsburgh, PA 15221
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                                        Plaintiff, Pro Se


                                                             /s/ Matthew H. Sepp
                                                             Matthew H. Sepp




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